                                                                                                              FILED IN THE
         Case 2:14-cr-00120-SMJ            ECF No. 238         filed 08/19/15      PageID.1083 Page
                                                                                                  U.S.1DISTRICT
                                                                                                        of 2 COURT
O PS 8                                                                                               EASTERN DISTRICT OF WASHINGTON
(3/15)


                               UNITED STATES DISTRICT COURT                                           Aug 19, 2015
                                                                                                          SEAN F. MCAVOY, CLERK

                                                              for
                                            Eastern District of Washington


U.S.A. vs.                     Scott, Alycia Jean                         Docket No.         0980 2:14CR00120-SMJ-3


                                 Petition for Action on Conditions of Pretrial Release

COMES NOW Erik Carlson, PRETRIAL SERVICES OFFICER, presenting an official report upon the conduct of
defendant Alycia Jean Scott, who was placed under pretrial release supervision by the Honorable U.S. Magistrate Judge
John T. Rodgers sitting in the Court at Spokane, Washington, on the 30th day of September 2014 under the following
conditions:

Standard Condition #1: Defendant shall not commit any offense in violation of federal, state or local law. Defendant shall
advise the supervising Pretrial Services Officer and defense counsel within one business day of any charge arrest, or contact
with law enforcement. Defendant shall not work for the United States government or any federal or state law enforcement
agency, unless Defendant first notifies the supervising Pretrial Services Officer in the captioned matter.

Special Condition: Defendant shall complete treatment indicated by an evaluation or recommended by Pretrial Services
and shall comply with all rules of a treatment program. Defendant shall be responsible for the cost of testing, evaluation and
treatment, unless the United States Probation Office should determine otherwise. The United States Probation Office shall
also determine the time and place of testing and evaluation and the scope of treatment. If Defendant fails in any way to
comply or cooperate with the requirements and rules of a treatment program, Pretrial Services shall notify the Court and the
U .S. Marshal, who will be directed to immediately arrest the Defendant.

Special Condition #14: Avoid all contact, direct or indirect, with known felons or co-defendants.

Special Condition #19: Prohibited Substance Testing. If random urinalysis testing is not done through a treatment program,
random urinalysis testing shall be conducted through Pretrial Services, and shall not exceed six (6) times per month.
Defendant shall submit to any method of testing required by the Pretrial Service Office for determining whether the
Defendant is using a prohibited substance. Such methods may be used with random frequency and include urine testing,
the wearing of a sweat patch, a remote alcohol testing system, and/or any form of prohibited substance screening or testing.
Defendant shall refrain from obstructing or attempting to obstruct or tamper, in any fashion, with the efficiency and accuracy
of prohibited substance testing. Full mutual releases shall be executed to permit communication between the court, Pretrial
Services, and the treatment vendor. Treatment shall not interfere with Defendant’s court appearances.

Special Condition #20: Defendant shall check in with U.S. Probation as directed on the days the Defendant attends
substance abuse counseling.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
          Case 2:14-cr-00120-SMJ          ECF No. 238       filed 08/19/15       PageID.1084 Page 2 of 2
   PS-8
   Re: Scott,, Alycia Jean
   August 18, 2015
   Page 2
Violation #1: The defendant failed to notify the U.S. probation officer of law enforcement contact within 1 business day.

Violation #2: The defendant failed to attend substance abuse treatment sessions on 6 occasions.

Violation #3: The defendant was associating with a known felon.

Violation #4: The defendant failed to report for random drug testing.

Violation #5: The defendant failed to check in with the U.S. Probation Office.

                          PRAYING THAT THE COURT WILL ORDER A SUMMONS

                                                                         I declare under the penalty of perjury
                                                                         that the foregoing is true and correct.
                                                                         Executed on:       August 18, 2015
                                                                by       s/Erik Carlson
                                                                         Erik Carlson
                                                                         U.S. Pretrial Services Officer


THE COURT ORDERS

[ ]       No Action
[X ]      The Issuance of a Warrant
[ ]       The Issuance of a Summons
[ ]       The incorporation of the violation(s) contained in this
          petition with the other violations pending before the
          Court.
[ ]       Defendant to appear before the Judge assigned to the case.
[ ]       Defendant to appear before the Magistrate Judge.
[ ]       Other


                                                                           Signature of Judicial Officer
                                                                             August 19, 2015
                                                                           Date
